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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS




WORMAN et al

     v.                                   CIVIL ACTION NO.
                                          1:17-cv-1010-WGY

BAKER et al




                  NOTICE OF SCHEDULING CONFERENCE


YOUNG, D.J.

     This case is called for an initial scheduling conference at

2:00 p.m. on April 10, 2017 in accordance with Fed. R. Civ. P.

16(b) and LR 16.1.    The Court considers attendance of the senior

lawyers ultimately responsible for the case and compliance with

sections (B), (C), and (D) of L.R. 16.11 to be



     1.   These sections of LR 16.1 provide:
         (B) Obligation of counsel to confer. Unless
otherwise ordered by the judge, counsel for the parties
shall confer no later than twenty one (21) days prior to the
date for the scheduling conference for the purpose of:
              (1) preparing an agenda of matters to be
discussed at the scheduling conference,
              (2) preparing a proposed pretrial schedule of
the case that includes a plan for discovery, and
              (3) considering whether they will consent to
trial by magistrate judge.
         (C) Settlement proposals. Unless otherwise
ordered by the judge, the plaintiff shall present written
settlement proposals to all defendants no later than
fourteen (14) days prior to the date for the scheduling
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conference. Defense counsel shall have conferred with their
clients on the subject of settlement prior to the settlement
conference and be prepared to respond to the proposals at
the scheduling conference.
         (D) Joint statement. Unless otherwise ordered by
the judge, the parties are required to file, no later than
seven (7) days prior to the scheduling conference, a joint
statement containing a proposed pretrial schedule, which
shall include:
               (1) a joint discovery plan scheduling the
               time and length for all discovery events, that

               shall
                       (a) conform to the obligation to limit
                       discovery set forth in Fed. R. Civ. P.
                       26(b), and
                       (b) consider the desirability of con-
                       ducting phased discovery in which the
                       first phase is limited to developing in-
                       formation needed for a realistic assess-
                       ment of the case and, if the case does
                       not terminate, the second phase is
                       directed at information needed to prepare
                       for trial; and
               (2) a proposed schedule for the filing of
               motions; and
               (3) certifications signed by counsel and by
               an authorized representative of each party
               affirming that each party and that party's
               counsel have conferred:
                       (a) with a view to establishing a budget
                       for the costs of conducting the full
                       course -- and various alternative courses
                       -- of the litigation; and
                       (b) to consider the resolution of the
                       litigation through the use of alternative
                       dispute resolution programs such as those
                       outlined in LR 16.4.
     To the extent that all parties are able to reach
agreement on a proposed pretrial schedule, they shall so
indicate. To the extent that the parties differ on what the
pretrial schedule should be, they shall set forth separately
the items on which they differ and indicate the nature of
that difference. The purpose of the parties' proposed pre
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of the utmost importance.2




trial schedule or schedules shall be to advise the judge of
the parties' best estimates of the amounts of time they will
need to accomplish specified pretrial steps. The parties'
proposed agenda for the scheduling conference, and their
proposed pretrial schedule or schedules, shall be considered
by the judge as advisory only.


     2. This session of the court follows the following
procedures at the initial scheduling conference:
     A.   The Court requires that the joint statement
required by LR 16.1(D) set forth each and every disputed
point in such fashion that, by initialling one approach
rather than another, the Court can indicate clearly the
individualized scheduling order to govern this case. Where
the joint statement is silent on a point, the presumptive
discovery limits set forth in LR 26.1(c) shall apply.
Unless the parties agree to an earlier date, discovery shall
be complete, together with the supplementation to any expert
interrogatories, on the date established for the final pre-
trial conference/entry onto the running trial list.
     B.   At the initial scheduling conference, the Court
will address counsel generally and, following the general
remarks, will see counsel in each individual case for the
sole purpose of advising counsel of the Alternative Dispute
Resolution mechanisms available and selecting a date for the
Final Pre-trial Conference and entry upon the running trial
list. The Court is unlikely to continue this date once
established.
     C.   At its earliest opportunity, the Court will
approve or modify the joint statement and so endorse it as
to make it constitute the individualized scheduling order
for the management of this case.
     D.    Since no motions will be addressed at the initial
scheduling conference, counsel may move for such further
case management conferences as any of them may deem
advisable.
     E.   Please review the case list for the accuracy of
counsel's names. If you notice that an attorney's name is
missing, please undertake to give that attorney notice of
the conference. Your cooperation is appreciated.
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     Counsel may be given a continuance only if actually engaged

on trial.   Failure to comply fully with this notice and with

sections (B), (C), and (D) of LR 16.1 may result in sanctions

under LR 1.3.3



                           WILLIAM G. YOUNG
                           UNITED STATES DISTRICT JUDGE

                           By the Court,

                            /s/ Jennifer Gaudet
                           Deputy Clerk




     3. Pursuant to Local Rule 16.2, certain categories of
cases are exempt from the provisions of this order. In
addition, all parties and counsel are notified that cases
which involve a pro se litigant are exempt from all
provisions of this order save the obligation to appear at
this scheduling conference. Counsel may move in timely
fashion to be exempt from the provisions of this order
should it be unduly burdensome. The court is unlikely to
grant such motion unless made by a plaintiff who is a
natural person not represented pursuant to the provisions of
an insurance contract who files an affidavit, signed by the
party, that in all likelihood the aggregate recovery, should
the plaintiff prevail, will not exceed $150,000, or by a
sole defendant who is a natural person not represented
pursuant to the provisions of an insurance contract.
